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                          UNITED STATES DISTRICT CO URT
                          SO U TH ER N DISTRIC T O F FL O R ID A

                        CASE NO.:18-23992-CIV-M ARTINEZ/AOR

  COM M ODITY FUTUiESTM DING
  C OM M ISSION ,

        Plaintiftl


  TIM OTH Y JO SEPH A TK FN SON ,
  JAY PASSEIUN 0,
  A LL IN PU BLISH IN G,LLC,and
  GA SHER,lN C.,

        D efendants.
                                                      /

                           REPO R T AN D RE CO M M EN DA TIO N

        THIS CAU SE cnm e before the Cotlrtupon Temporary Receiver M elanie E.Dnmian's

  (theççlkecéiver'')FirjtInterim Application foran OrderApproving and Agthorizing Pqymentof
  FeesandExpensesofReceiverandHerProfesjionals(hexreafter,ççFirstM otion forFees'')(D.E.
  1611.Thismatterwasreferredtotheundersignedptlrsuantto28U.S.C.j636bytheHonorable
  Jose E.M artinez,United StatesDistrictJudge (D.E.168q. Forthe reasonsstated below,the
  tmdersignedrespectfullyrecommendsthattheFirstM otionforFees(D.E.1612beGRANTED.
                        PROCEbURAL AND FACTUALBACKGROUND
        On September27,2018,PlaintiffCommodityFuttlresTradingCommission(çtplaintiff'or
  ûGCFTC'')commencedthisaction againstDefendantsTimothyJosephAtklnson (ttAtkinson''),Jay
  Passerino (Glpasserino''), A11 in Publishing,      (çGA1P'') and Gasher, lnc. CGasher'')
  (collectively, Gr efendants'') asserting that Defendants violated various sections   the
  CommodityExchangeActanditsregulations.SeeComplaintforInjtmctiveandEquitableRelief
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     and Penalties Under the Commodity Exchange Act (hereafter,dlcomplainf') ED.E.               On
     October5,2018,the Courtentem d an OrderGranting PlaintiffsEm ergency M ofion forStatm ory
 '
     Restraining Order, Appointpent of a Receiver, an Accotmting, and Other Equitable Relief

     (hereafter,G1SRO'')(D.E.48j. PyrsuanttotheSRO,befendants'assetswerefrozen,al1records
     of Defendants' activities and assets were ordered to be preserved, and the Receivef was

     appointed. SeeSRO ED.E.482.The SRO authorized theReceiverto manage and administerthe
     Defendants alo theirestate by perfonning a11actsincidentalthereto thatthe Receiverdeemed
                                       ('
                                        ,
     appropriate, çlincluding . . . (1)the retention and employmentof investigators,attomeys,or

     accountants ...ofthe Temporary Receiver'schoice,including withoutlim itation m embersand

     employees of the Temporary Receivei's 51.
                                             1,
                                              11.'' See SRO (D.E.48 at 121. The SRO also
     authorizçd the Receiverto tlgmjake payinentjand disbtlrsementsfrom the Receivership Estate
     that are necessary or advijable for carrying out the directions of, or exercising the authority

     granted by,thisOrder,provided thatthe Temporary Receiver shallapply to the Courtforprior

     approvalofany paymentofany debtorobligatioù incun'
                                                      edby the Receivership Defendantsprior

     to the date of entry of this Order,except for paym ents that the Temporary Receiver deem s

     necessary or advisable to secure the Receivership Estate from im m ediate and irreparable loss.''

     1d.at 13.

            On October 11,2018,DefehdantsAtkinson and AIP consented to the Court'sentry ofa

     Preliminary Injunction againstthem,which the Courtentered on Novémber 16,2018. See
     Consent Order for Preliminary Injtmction and Other Ahcilléry Relief Against Defendants
     Atkinson and A1P (hereafter,GçconsentPreliminarylnjunction'')ED.E.1274.AlsoonNovember
     16,2018,the Courtensered an Order forPreliminary Injunction and.OtherAncillary Relief
     AgainstPasserino and Gasher(hereafter,Gtpreliminarylnjunction'')ED.E.1254.ThePreliminary
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  Injunctions,among other things,extended the injtmctive relief,asset freeze,directives and
                          t
  appointmentoftheReceiverorderedintheSRO.SeePreliminaryInjunctions(D.E.125,1271.
        On Decem ber 5,2018,the Receiver filed the FirstStatus Report,which reported that

  the total nmotmt of funds recovered from Defendants Atldnson and AIP (together GW IP
  Defendants'')was$9695510.16 and thetotalnmountoffundsthatthe Receiverrecovered from
  DefendantsPasserino and Gasher(togetherGGGasherDefendants'')was$1,645,888.93. SeeFirst
  StattzsReport(D.E.143 at302. The Receivermaintained the funds recovered f'
                                                                           rom the AIP
  Defendants and the ftmdsrecovem d from the GasherDefendants in separate fiduciary accounts.

  (respectively,IGAIPFiduciaryAccount''andlçGasherFiducial'yAccounf).J#   -.
                                                                           .




        On January 31,2019,the Receiverfiled the FirstM otion forFees seeking approvalof

  al1ofthe fees and costs that she and her professionals incurred from O ctober 1,2018 through

  November30,2018 (hereafter,the tsApplication Period'') and authorization to immediately
  pay allfees and costs from the funds held by the receivership estate. See FirstM otion for

  Fees(D.E.161at1).TheReceiverinformedtheCourtthâtshehadengagedDnmian & Valori
  LLP (GsLead Counjel').as her lead counsel and Kapila M ukamal LLP (the ETorensic
  Accotmtanf')asherforensicaccountantandtax consultant.J.#=.at3. On Febrtzary26,2019,the
  tmdersigned issued an Order to Show Cause directing Defendants to show cause why the First

  MotionforFeesshouldnotbegrantedwithin20days(D.E.180j.Thatsameday,Atlcinsonfiled
                                                                      '
                                          v

  aNoticeofxon-oppositionto(heFirstMotionforFees(hereafter,EtNpticeofNon-opposition''),
  informingtheCotlrtthathe had no opposition totheReceiver'srequestED.E.1822. On M arch
  12,2019,the Receiverfiled aNotice ofNo Objection to the'FirstM otion forFees(hereafter,
  SlNotice ofNo Objection'')on behalfofAlP and Gasherinforming thelmdersigned thatthose



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  Defendants had no objection to the instantmotion (D.E.1921. To date,Passerino has not
  responded to the FirstM otion forFees orthe undersigned's Orderto Show Cause.

                                        D ISC U SSIO N

        The Receiver requests the following am ounts incurred during the Application Period:

  $110>198.50 in fees and $7,608.23 in costs by the Lead Cotmse
                                                              '1;and $42,320.50 in fees and

  $873.35 in costsby the ForensicAccotmtant. SeeFirstM otion forFees (D.E.161at2). The
  holzrly ratesforthese professionalshave been reduced from a range ùf$200-$525 to a range of
  $75-$275.Jtlsat6,n.3.TheReceiver,theLead CounselandtheForensicAccotmtantexpended
             .




  atotalof262.4hourson work relatedtotheAIP Defendantsdtuing theApplication Period.Ji.     .




  at4, As to work related to the Gasher Defendants,the Receiver,the Lead Cotmseland the

  ForensicAccotmtantexpended atotalof197.8 hours. J.I
                                                    .
                                                    L at5. Additionally,theReceiverand
  theLeadCotmselexpended 167.2hoursongeneralreceivemhip andadministrativework.J-tls
        AIP,Gasherand Atkinson donotobjecttotheamountssought,and Passerino hasfailed
  to file a response to the FirstM otion forFeesorthe undersigned's Orderto Show Cause. See

  Notice of Non-opposition (D.E. 1821,
                                     .Notice ofNo Objection ED.E.192j. M oreover,the
  undersigned finds the hourly rates and hoursexpended to bereasonable. Sèe Norm an v.Hous.

  Auth.ofM ontaomerv,836F.2d 1292,1303(11thCir.1988)(itrf'
                                                         hecourt...isitselfarlexperton
  the question and may consider its own knowledge and experience concerning reasonablè and

  Properfees....'').
        The Receiverproposes thatthe feesand costsbe paid fl'om the fiduciary accotm tfor each

  defendantto whom the work wasattributable. Asto the generalreceivership and administrative

  feesand costs,theReceiverproposesthatthose nmountsbeborneby theAlP Defendantsand the




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  Gasher Defendants equàllyy Therefore,the undersigned.finds it appropriate to award the

  Receiverftesand costsfrom theftm dsrecovered asfollows:

                                       AIè FiduciaryAccount
                                                                              j'
                      D escri tion                          .Am ount $
                      Receiverand Lead Counsel              .
                         .  A lp-Related W ork               45,075.61        '
                            GeneralR eceivership and         19,76,
                                                                  1.44
                            AdministrativeM atters
                            Total                               64,837.05

                      ForensicAccotmtant
                           A lp-R elated W ork                  24,308.12
                                                                        .
                      G R AN D TO TA L                          89,145.17


                                      G asher Fiduciary A ccount

                      Descri tion                               Am ount $
                      Receiverand Lead Couhsel .                 ,

                              Gasher-lielatedW ork              33,208.23
                                                                .
                     .        GeneralRecéivership and           19,761.45
                              A dm inistrative M atters
                             'Total                             52,969.68 .

                      Forensic A ccountant
                           Gasher-Related W ork                 18,885.73
                         GR AND TOTAL                           71,855.41
                                       RE CO M M EN DA TIO N

         Based on the foregoing,the updersigned RESPECTFULLY RECOM M ENDS thatthç
                                 h
  Receiver'sFirstM otion forFeesLD.E.161)beGRANTED andShattheReieiverbeauthorized
  to pay fees and costsasfollow s:

             1. $64,837.05So herselfand theLeéd Cotmselfrom theA1P FiduciaryAccount;

            2. $52,969.68 to herselfand theLead Counselfrom theGasherFiduciary Account;
            3. $24,308.12 to theForensicAccountantfrom theAIP Fiduciary Account;and
            4. $18,885.77 to theForensicAcçotmtantfrom the GasherFiducil yA ccount.
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        Pursuantto LocalM agistrate JudgeRule 4(b),the partieshavefourteen dav'sfrom the
  date ofthisReportand Recommendation to file written objections,ifany,with the Honorable
                                           L
  JoseE.M artinez,United StatesDistrictJudge. Failttre to file timely objectionsmay barthe
  Partiesfrom attackingthefactualfinèingscontained hereindn appeal. SeeResolutionTr.Corp.
  v.Hallmark Builders.lnc.,996F.2d'1144,1149 (11th Cir.1993). Further?çtfailureto objectin
  accordance with the provisions of (28 U.S.C.) j 636(b)(1) waives the rightto challenge on
  appealthedistrictcourt'sorderbased ontmobjected-tofactual.andlegalconclusions.''See 11th
  Cir.R.3-1(I.O.P.-3).
        DONEAND ORDERED in ChnmbersatM inmi,Floridathis#n +da
                                                           .
                                                             y ofApril,2019.
                                                                -




                                                g ..
                                               q.                   zg
                                          M ICIA M .OTAZO-          ES
                                          UNITED STATESMAY STRATE JUDGE
  cc:   United StatesDictrictJudgeJoseE.M artinez'
        CounselofRecord




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